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                               UNITED          STATES      DISTRICT     COURT
                               EASTERN DISTRICT                OF VIRGINIA
                                          Norfolk Division


 WHAT HURTS,         LLC,


                   Plaintiff,
 V.                                                                               Civil    No.    2:22cv552


 VOLVO PENTA OF THE AMERICAS,                        LLC,


                   Defendant.


                                          OPINION AND          ORDER


           This    matter      is    before          the     Court     on     a     motion       for    summary

  judgment        filed     by Defendant               Volvo    Penta        of     the    Americas,           LLC

      ("Volvo   Penta").       ECF       No.    53.        Plaintiff        What     Hurts,       LLC    ("What

  Hurts")       filed a response in opposition, ECF No. 61, and Volvo Penta

  filed a reply,          ECF No.        62.        On December 5,           2023,     the Court held a

  hearing on the matter.                   For       the     reasons    stated below,              the       Court


  GRANTS in part and DENIES in part Volvo Penta's motion.

                                               I.   background!


           Volvo Penta manufactures marine engines for use in boats that

  are     designed and built by other companies.                                    What     Hurts       is    the


  record owner of             a 60-foot motor yacht                  (the         Vessel"),        which       was

  designed and manufactured by Midnight Express, a Miami-based boat

  provider.          When     What       Hurts       purchased       the      Vessel       from        Midnight

  Express       in October          of    2019,        the   Vessel     had         been   used        for    some




  ^    Unless     otherwise    stated,         these    background          facts    are   drawn       from    the
  undisputed statements of fact in the parties' summary judgment briefing and
  the parties' factual submissions at the summary judgment hearing.
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 period of time and was equipped with four engines                                   (the     Original

 Engines")        and    four     lower       units        (the     Original        Lower    Units")

 These     engines       and     lower       units        were    all    manufactured        by    Seven

 Marine,    LLC,    a company wholly owned by Volvo Penta.                               The Original

 Engines     came       with    Seven       Marine's        limited       warranty,      which     Volvo


 Penta    administered as             the   owner of        Seven   Marine.^


                                 A,     Pre-Release Agreement

         Shortly        after    What       Hurts    purchased          the    Vessel,      What   Hurts



 discovered performance                 issues       related       to    the    Original     Engines.**

 What Hurts reported these issues to Volvo Penta,                                 and according to

 What    Hurts,     Volvo       Penta tried to             remedy       the    engine problems       for

 the     better    part    of    a    year.         Ultimately,          however,     the    attempted

 repairs were unsuccessful.

         In early 2021,          the parties began negotiating a deal whereby

 What Hurts would release all possible legal claims related to the

 Original Engines in exchange for replacement Seven Marine engines.^

 At some point during the negotiations, however, What Hurts learned




 ^ The  lower units  are the part of the boat motor that transfers the power
 and rotation from the engine to the propeller shaft,       which moves  the
 propeller and consequently moves the boat.

 ^ Volvo Penta was not          involved in the sale of            the Vessel,      and neither Volvo
 Penta nor Seven Marine were involved in selecting or installing the Original
 Engines or Original Lower Units on the Vessel.

   At the hearing on this motion. What Hurts proffered that the Vessel was
 not getting up on plane and that water was coming over the stern of the
 boat.


 ^ These replacement engines were              the same type as           the Original Engines.

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 about       the existence of DPH-brand lower units,                                   which    might improve

 the performance of the Vessel.                                  ECF No.     61-1 H 17.          What       Hurts's


 representative,                 Lee            Grammas,     then         spoke        with    Volvo        Penta's

 representative,                 Tony           Kelleher,      about       including          DPH-brand       lower

 units as part of the                       settlement agreement.

            Later,        after       speaking          with     Midnight         Express,       Grammas         told

 Kelleher          that        Midnight           Express        advised         him    to    stick    with       the

 original Seven Marine lower units "because they know it works [and]

 they never use [d]                   the       [DPH]   system.
                                                                   // 6
                                                                           ECF    No.    54-5/       ECF   No.    54,


 at    6;        ECF    No.     61,        at    3.     Volvo      Penta     representative                Kelleher

 responded by text:

            I've got          [to]    tell you we have had a lot of success with
            the    DPH       drives.       Obviously before Volvo Penta bought
            Seven Marine             this was not an option but since then DPH
            is    the   standard because                 the hole         shot    is better [,]        fuel
            efficiency is better[,] and maneuverability is better
            particularly at low speed. If it was my Boat I would go
            with a DPH but it's yours it's your choice I'd advise
            you to reconsider.

 ECF    No.       54-5.        After this             exchange,      What Hurts requested the DPH

 lower       units.


                                           B.    The Release Agreement

            On    March        11,     2021,          What   Hurts's        representatives            signed       a


 General          Release            and        Confidentiality           Agreement           (the     Release")




 ®    According   an affidavit provided by What Hurts, Midnight Express
                        to
 indicated       they had not ever used the Upgraded DPH Lower Units on a
                   that
 vessel they had built before.  ECF No. 61-1 1 27.


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 related           to    the   Original     Engines."^         In    the    Release,    Volvo       Penta


 agreed            to    provide    four    refurbished          Seven      Marine     engines       {the


   Replacement             Engines")       and    four upgraded DPH             lower       units    (the

                                                                                                    These
   Upgraded Lower Units")                  for $10,000.             EOF No.   35-2,    at    1.


 engines would be sent to Man O' War in Florida, an authorized Volvo

 Penta dealer,              for    installation.            Volvo Penta agreed to           “work with

 Man     O'        War    to   complete     the        application         reviews    and    propeller

 selection              [for the engines].                     And importantly,         Volvo Penta
                                                 " 8
                                                        Id.



 agreed to provide a limited warranty for the Replacement Engines

 and Upgraded Lower Units                   (the “Limited Warranty"):

          [F]or 12 months or a maximum of 300 hours of operation
          from the date of commissioning, whichever occurs first.
          With the exception of the applicable warranty period,
             the warranty conditions are based upon the original
             [engines] warranty statement.   Commissioning must be
             completed no later than April 8, 2021; otherwise, the
          warranty will commence on that date.

  Id.


             In exchange.          What Hurts agreed to waive all actions,                        causes


 of     action,          and claims     whether at law or in equity,                   whether known

 or unknown              which may have been caused by or relate to the Original



   Though the Release does not name What Hurts as a party, it names Grammas
 and Brent Loring, who are both representatives of What Hurts,    Loring is
 also the sole member of What Hurts,  ECF No. 35     1-2. The parties agree
 that the Release is binding on What Hurts.   ECF No. 54, at 7 n.4; ECF No.
  61,   at    4.


 ® The parties do not define "application reviews," but it appears to refer
 to the process of assessing the performance of engines on a vessel and
 recalibrating the configuration of engines (as needed) to achieve proper
 performance of the engines on a vessel.  By contrast, the parties appear to
 use the phrase "the application" to refer to the use (more generally) of
 the Replacement Engines with the Upgraded Lower Units on the Vessel.

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 Engines.           Id.     Additionally,             What Hurts         "agree[d]              that     [it]    will

 be     responsible          to    purchase       and        pay   for    propeller              sets     for     the

 Replacement Engines,                as well as all charges related to the removal

 and replacement of engines,                      haul out,          block,      launching,              lay days

 and miscellaneous yard fees,                     etc.         Id.       The Release then provides

 that        [What Hurts]          understand[s]             and agree[s]            that        the    foregoing

 represents          the     sole        and    exclusive          obligation              of    the     Released

 Parties under this Agreement.                           Id.       The   Release           concludes          with     a


 confidentiality             agreement,           an    acknowledgement                that        the     Release

   shall       be   deemed    to    have       been    entered       into   in       the    Commonwealth of


 Virginia,           and choice of law and forum provisions.^                                     Id.    at     1-2.


                                    C.    Post-Release Agreement


         The Replacement Engines and Upgraded Lower Units were sent to

 Man O'        War, but shortly after installation,                            the parties agree that

 the Replacement Engines and Upgraded Lower Units were not working

 together on the Vessel as expected.                               According to What Hurts,                       the

 configuration of             the Replacement Engines with the Upgraded Lower

 Units was plagued by persistent water pressure issues.                                                   See     ECF



 No.    61          94,    103,    110-14.




 ^ The choice of law provision states that    [a]11 questions concerning the
 validity, interpretation or performance of any of [the Release's] terms or
 provisions, or of any rights or obligations of the parties hereto, shall be
 governed by and resolved in accordance with the laws of the Commonwealth of
 Virginia.   ECF No. 35-2, at 1-2.   The choice of forum provision provides
 that "the sole jurisdiction and venue for any litigation arising from or in
 any way relating to this Agreement . . . will be in an appropriate federal
 or    state    court     located in Norfolk,          Virginia.         Id.    at    2.


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         After         several    months         of    adjustments.             what    Hurts          decided    to


 remove the Upgraded Lower Units and reinstall the Original Lower

 Units.            According to What Hurts,                      it was     only after the Original

 Lower       Units      were    reinstalled            on       the   Vessel     that        it    learned      that


 Volvo Penta was discontinuing the Seven Marine brand.                                                 What    Hurts


 purportedly "never               [would have]          agreed to Replacement Engines from

 Seven       Marine      had     it    known     that       fact.        EOF No.       61 H 81.

         On       November      29,    2021,      the       Vessel       was    taken        on    a     sea   trial

 equipped with the Replacement                          Engines and Original Lower Units.

 Volvo Penta considered the sea trial a success,                                       but What Hurts did

 not.        By June of         2022,       several months               after the           sea    trial,     What

 Hurts removed and sold the Replacement Engines and Original Lower

 Units and replaced them with Mercury brand marine engines.                                                     This


 suit    followed.


                                      D.    Procedural Background

         On July 27, 2022, What Hurts filed its Complaint in the United

 States       District         Court       for   the   Southern          District        of       Florida.       ECF



 No.    1.    The suit was then transferred to this Court pursuant to 28

 U.S.C.       §    1404(a)      and    the       forum-selection               clause        in    the    Release.

 ECF No.          13   (citing ECF Nos.           1-2).           Once    the   case was           transferred.

 Volvo Penta filed a motion to dismiss,                                  ECF No.       18,    and What Hurts




 10
    This work appears to have been completed by Man O' War.    See ECF No.

 54-9  (showing emails between Volvo Penta and Man O' War regarding What
 Hurts's decision to reinstall the Original Lower Units); see also ECF No.
 54 t 32;      ECF No.    61 t 32.

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 thereafter filed an amended complaint,                                  ECF No.       35,    to which Volvo

 Penta        filed an answer,            ECF No.       38.


          What       Hurts's       Amended           Complaint           states       three        theories          of

 relief:       Actual Fraud          (Count I);          Fraudulent Concealment                     (Count II);

 and Breach of              Express Warranty                 (Count III) .            ECF     No.       35.        What


 Hurts         seeks        damages,           prejudgment              interest.        all        costs,          and


 attorneys'          fees as well as punitive damages.                                 Id.    at    11.


          On October         11,     2023,          Volvo Penta moved for                summary judgment

 on     all   three    claims.           ECF    No.    53.        What Hurts filed an opposition

 brief        on    October        31,     2023,       and       Volvo       Penta     filed        a     reply      on

 November 10,           2023.        ECF Nos.          61,       62.     A summary judgment hearing

 was held on December 5,                   2023.        Accordingly,            Volvo Penta's summary

 judgment motion is fully briefed, argued,                                    and ripe for review.

                                           II,       LEGAL       STANDARD



          Rule      56(a)    of    the     Federal Rules                of   Civil     Procedure provides

 that a district court shall grant a motion for summary judgment if

  the    movant        shows       that        there     is       no    genuine       dispute           as    to    any

 material fact and the movant is entitled to judgment as a matter

 of     law. //      Fed.    R.     Civ.       P.    56(a) .           The    "mere    existence             of    some


 alleged           factual   dispute between                     the   parties        will    not       defeat       an

 otherwise           properly       supported           motion          for    summary        judgment;             the



  requirement is that there be no genuine issue of material fact.
                                                                                                                      n




 Anderson v.           Liberty Lobby Inc.,                   477 U.S.         242,    247-48        (1986).           A



 genuine          question of        material          fact        exists      where.        after       reviewing

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 the     record        as    a     whole,         a     court       finds     that          a    reasonable              [fact


 finder]        could return a verdict for the nonmoving party.                                                      Dulaney

 V .    Packaging Corp.               of Am.,          673    F.3d 323,       330       (4th Cir.             2012).

          The    initial burden on                      summary       judgment          falls          on the moving

 party,     but        once      a    movant           properly presents                evidence              supporting

 summary judgment,                   the nonmoving party may not                            rest upon the mere

 allegations of the pleadings,                               but    instead must set forth specific

 facts     in    the    form of            exhibits          and    sworn    statements                illustrating a

 genuine issue for trial.                          Celotex Corp.             v.    Catrett,             477 U.S.          317,

 322-24         (1986) .             To        successfully          defeat        a    motion               for     summary

 judgment,        the nonmoving party must                            rely    on more                than     conclusory

 allegations                mere speculation," or the “existence of a scintilla

 of     evidence.           Tap of         Sys.       Integration,          Inc,       v.       Analytical              Servs.

 Sc    Materials,           Inc.,         330     F.     Supp.       2d     668,       671           (E.D.     Va.       2004)

  (citations       omitted).

         Although            the          Court        is     not     to     weigh              evidence           or     make

 credibility           determinations                   at     the     summary         judgment               phase.       the



 Court     is required to                      determine whether there is a genuine                                      issue

 for     trial.         Tolan V.                Cotton,       572    U.S.    650,       656           (2014)       (quoting

 Anderson,        477       U.S.          at    249).        When assessing                 whether           there      is   a

 genuine issue for trial, the Court must determine whether there is

      sufficient disagreement to require submission to a [fact finder]

 or     whether        [the      evidence]              is    so     one-sided         that           one     party       must


 prevail        as a matter of                  law.         McAirlaids,           Inc,         v.     Kimberly-Clark


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 Corp.,         756    F.3d        307,    310    (4th Cir.             2014)    (quoting Anderson,               477

 U.S.      at   251-52).            In making its determination.                           the district      court


 must view the evidence in the light most favorable to the nonmoving

 party.          Jacobs V.           N.C.      Admin.       Off,    of    the Cts.,         780    F.3d 562,      568


  (4th Cir.           2015)    (cleaned up).

                                                 III.    DISCUSSION



           Before addressing Volvo Penta's                               summary       judgment arguments.

 the       Court      must     consider          two    threshold          issues:         (1)    the    source    of


 this Court's jurisdiction;                           and     (2)   which choice-of-law rules and

 substantive law apply.                        Then,     the Court will consider the parties'

 summary judgment arguments as they relate to each of What Hurts's

 claims.


                                                 A.    Jurisdiction


           Though         neither              party          has        challenged               this     Court's



 jurisdiction,            the Court has an "independent obligation" to ensure

 that subject matter jurisdiction exists.                                       Arbaugh v.          Y & H Corp.,

 546 U.S.          500,      514     (2006) .         What Hurts         filed its Amended Complaint

   in admiralty.               but        it   is not       readily apparent                that     every claim

  falls within this Court's original admiralty jurisdiction.                                                At    the



 summary judgment hearing,                            the parties proffered that                     the Release

  is   a    "maritime contract"                   which provides                the   Court       with original

 jurisdiction             in       admiralty           over       the    breach       of    express       warranty

 claim.         The parties agreed that the Court lacks original admiralty

 jurisdiction over the two fraud claims but asserted that the Court

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  has original          diversity jurisdiction or supplemental                                             jurisdiction

  over    both    claims.            The Court         largely agrees with                            the parties             and

  finds that it has original admiralty jurisdiction over the breach

  of   express warranty claim and supplemental jurisdiction over the

  fraud     claims.


          Federal courts have original and exclusive jurisdiction                                                            over


   [a] ny    civil       case        of    admiralty             or     maritime              jurisdiction.
                                                                                                                       //
                                                                                                                                   28



  U.S.C.     §    1333(1);           see     U.S.     Const,            art.           Ill,     §    2,     cl.    1        ("The


  judicial power shall extend                         to     .    .     .    all       Cases of admiralty and

  maritime        Jurisdiction").                   Contract           disputes               fall    within        federal

  courts'     original admiralty jurisdiction if the nature or subject

  matter     of    the     contract           is     maritime.                   But     the        boundary        between

  maritime and nonmaritime contracts has long been difficult to draw.

  Norfolk S.        Ry.       Co.     v.     Kirby,        543        U.S.        14,    23-24         (2004);         accord

  Barna     Conshipping,              S.L.    v.     2,000            Metric       Tons,            More    or    Less,            of

  Abandoned Steel,              410 F. App'x 716,                     722        (4th Cir.           2011).

          Contracts           for     repair,         alteration,                  or     reconstruction                    of      a

  vessel which,           before          such work,             was        actively engaged in maritime

  commerce         or     navigation,                generally                   are      considered              maritime

  contracts.            See     N.     Pac.     S.     S.        Co.        v.    Hall        Bros.        Marine           Ry.     &

  Shipbuilding Co.,                 249 U.S.         119,        127-28          (1918);        accord Kossick v.

  United     Fruit       Co.,        365     U.S.     731,        735-36           (1961);           see    also       Little

  Beaver     Enters,       v.        Humphreys        Rys.,           Inc.,        719        F.2d    75,     77-78           (4th

  Cir.    1983)     (applying admiralty law to a contract                                             to    replace               the

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  steering system of a vessel); Southworth Mach, v.                                         F/V Corey Pride,

  994    F.2d    37,     40     n.3    (1st        Cir.        1993)        {finding        that    a    contract

  involving the sale and installation of a used engine on a vessel

  is    a maritime      contract).              By contrast,               contracts to build a ship.

  or contracts          involving work performed on a non-maritime                                        object.

  are   not   maritime.             Kossick,       365 U.S.           at    735;     see also Hall Bros.,

  249 U.S.      at     127-29       (explaining that maritime jurisdiction                                    over    a


  vessel      does     not     begin until            the       vessel        has     been    completed             and

  launched on navigable waters).                               Any uncertainties              that       arise       in

  distinguishing between repairs on a vessel already in navigation

  (maritime) and new vessel construction (non-maritime)                                            are resolved

  in favor of admiralty jurisdiction.                                 New Bedford Dry Dock                    Co.    v.


  Purdy,      258 U.S.        96,    99-100       (1922).

         At the summary judgment hearing,                                  the parties confirmed that

  the Vessel was fully constructed and had been launched in navigable

  waters before What Hurts signed the Release.                                       Having been actively

  engaged in maritime navigation,                              the Vessel was,              for purposes of

  this Court's admiralty jurisdiction, a "vessel" before the Release

  was    executed.           See     Hall       Bros. ,    249        U.S.     at    127-29.        Though          the

  Release involves a waiver of liability,                                  it is ultimately a contract

  for the      modification of              a    "vessel.           and therefore,            it is properly

  considered         a maritime        contract.               See,    e.g.,        Glover v.       Hryniewich,

  No.    2:17cvl09,          2022     WL    4542251,           at     *4     (E.D.    Va.    Sep.       28,    2022)

   (contract     to     replace         engines           of    vessel         constitutes          a    maritime

                                                          11
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  contract);       accord 1 Thomas J.                Shoenbaum,         Admiralty & Maritime Law

  § 3-10       (6th ed.     2018)       (hereinafter "Shoenbaum").

          However,        the     inquiry does not               end     there       as     this    is    not     a

  simple breach of contract action, but rather, an action for breach

  of an express warranty                 (Count III) .            Ordinarily,             warranty claims

  do     not     fall      within        a     federal          court's         original            admiralty

  jurisdiction          because         they    are        often        grounded           in     nonmaritime

  contracts,        such    as    contracts          for    the    sale    of       a    vessel.          See    E.



  River S.S.       Corp.     v.    Transamerica Delaval,                  Inc.,         476 U.S.     858,       872

  n.7     (1986)     (noting        that     breach        of   warranty         claims           grounded       in

  construction or materials contracts are not within federal courts'


  original       admiralty         jurisdiction).                 In    this     case,          however,        the


  parties agreed in the Release to create a new limited warranty as

  part of their agreement to alter the Vessel's engines.                                              See       ECF


  No.    35-2; see also ECF No.                54 H 24; ECF No.             61 H 83.              Because       the


  Limited       Warranty was            created by         and     is    grounded           in     a maritime

  contract       (the     Release),          Count    Ill's       breach       of       express      warranty

  claim     properly        falls        within       this        Court's        original           admiralty

  jurisdiction.           See 1 Shoenbaum             § 3-11;          see also Berge Helene Ltd.

  V.    GE Oil     & Gas,       Inc.,    896   F.    Supp.      2d 582,        595        (S.D.    Tex.    2012)

  ("Disputes over warranties arising from                               [maritime]          contracts also

  fall within maritime jurisdiction").

          As to the fraud claims,               the parties agree, as does this Court,

  that neither the actual               fraud nor the           fraudulent concealment claims


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  fall within this Court's original admiralty jurisdiction.                                                     Simply

  put,     neither claim              occurred on navigable waters or                                [was]      caused

  by a vessel          on navigable water,                   so   neither           tort        claim       can   fall
                                                       tt




  within this         Court's original              admiralty jurisdiction.                               See   Jerome


  B,    Grubart,      Inc,       v.   Great   Lakes         Dredge      &    Dock       Co.,        513    U.S.   527,


  534      (1995)        (setting        forth       the      test          for         original           admiralty

  jurisdiction over tort claims);                           see also Mayor & City Council v.

  BP P.L.C. ,        31 F.4th 178,          227 n.l9        (4th Cir.            2022)        (if one criterion

  for original admiralty jurisdiction is absent,                                         the Court need not

  assess       the   other criteria).


           Though the        Court      lacks      original       admiralty jurisdiction                          over


  the fraud claims,                both parties assert that the Court has original

  diversity          jurisdiction             over      such         claims.                   For         diversity

  jurisdiction,            the     amount     in   controversy must                     exceed        $75,000       and

  the parties must be completely diverse.                                   28    U.S.C.        §    1332(a).        In



  the Amended Complaint,                Plaintiff seeks damages exceeding $500,000,

  so    the     amount     in controversy requirement                        is satisfied.                  However,


  Volvo        Penta has      not     presented       sufficient             facts        for       the     Court    to

  determine whether the parties are completely diverse.
                                                                                                     11




                 limited liability company              is assigned the citizenship of                              its
  11
         [A]
  members.          Gen. Tech. Applications,            Inc, v. Exro Ltda, 388 F.3d 114,                     120
  (4th    Cir.    2004);    accord     Travellers     Indem.      Co.       of    Am.    v.    Portal Healthcare
  Sols., L.L.C., 644 F. App'x 245, 246 (4th Cir. 2016).    Though the Amended
  Complaint posits that all of Volvo Penta's members are Delaware or Virginia
  citizens, there is no evidence in the summary judgment record upon which
  the Court can determine the citizenship of Volvo Penta's members.       See
  generally ECF No.          35.

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          Regardless,         under 28            U.S.C.           §    1367(a),    the    Court generally

  may exercise         supplemental jurisdiction over any claims                                      that       are


  so     related      to         claims       in         the       action        within      such     original

  jurisdiction that they form part of the same case or controversy

  under    Article      III      of    the    United           States         Constitution.
                                                                                              It
                                                                                                     28    U.S.C.



  §    1367(a).      Based on the allegations in the Amended Complaint,                                           as


  well as the parties'                statements in their summary judgment briefing

  and at oral argument,                the Court concludes that What Hurts's                                fraud

  claims    arise     out    of    the    same        events             execution of       the    Release       and


  subsequent issues with the Replacement Engines and Upgraded Lower

  Units - as What Hurts's breach of express warranty claim.                                               Because



  What    Hurts's      claims         share       a          common nucleus         of    operative        fact,
                                                        \\                                                         u




  the    Court      finds    that      it has           supplemental             jurisdiction over What

  Hurts's    fraud claims.               United Mine Workers v.                     Gibbs,    388 U.S.          715,

  725    (1966) .

                                             B.    Choice          of    Law


          Because       the        Court          has         subject          matter     jurisdiction            in

  admiralty.         federal          maritime               choice-of-law         principles        apply        in

  determining whether to apply federal or state substantive law to

  the breach of express warranty claim.                                       Sing Fuels Pte ltd,          v.    M/V

  Lila Shanghai,            39    F.4th 263,                 270   (4th Cir.       2022).         When parties

  have included a choice of law provision in their contract,                                               courts



  sitting     in admiralty will enforce                                that    clause unless        there       is a

  compelling public policy reason for not doing so.                                           Triton       Marine


                                                              14
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  Fuels Ltd.,          S.A. V, M/V Pac.                   Chukotka,          575 F.3d 409,             413        (4th Cir.

  2009) .

          In    this     case,    the       parties               agreed          in   the     Release            that    all

  questions concerning the validity,                               interpretation, and performance

  of    the    Release        shall    be        governed by and resolved                             in accordance

  with the laws of the Commonwealth of Virginia.                                                ECF No.           35-2,       at
                                                                                          n




  2 .   As both parties agree that this choice-of-law provision should

  apply,       and     nothing        in        the        record           indicates          that         there        is    a

  compelling public              policy reason                    to    warrant         non-enforcement,                  the



  Court will apply Virginia substantive law to the breach of express

  warranty claim.

          As    to     the     fraud       claims.            a     court          exercising           supplemental

  jurisdiction over state law claims applies the choice of law rules

  of    the    forum    state.        See Snow v.                 WRS Grp.,            Inc.,    73     F.    App'x 2,          3

  (5th Cir.         2003);     see also Berlin v.                       Jetblue Airways Corp.,                      436       F.

  Supp.       3d 550,    564     (E.D.N.Y.                2020).        But when a party transfers a

  case pursuant          to 28 U.S.C.                 §    1404(a),          as    Volvo       Penta        has    in    this


  case,       the   transferee court must apply the choice-of-law rules of

  the    transferor          court.        See    Ferens           v.       John   Deere       Co.      Accordingly,

  the    Court       applies     Florida          choice-of-law principles.                                 As     to    tort



  claims,       Florida        applies           the        law        of    the       state     with        the         most



  significant relationship                       to        the     occurrence.                 Bishop        V.    Florida
                                            u




  Specialty          Paint     Co.,    389        So.2d           999,        1000-01          (Fla.        1980).            In



  applying this test,             the Court should consider:

                                                             15
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             (a)   the place where the injury occurred;                                (b)       the place
          where the conduct causing the injury occurred; (c) the
          domicile, residence, nationality, place of incorporation
          and place of business of the parties; (d) and the place
          where the relationship, if any, between the parties is
          centered.


  Grupo       Televisa,         S.A.        v.    Telemundo        Commc'n          Grp,,        Inc.,     485        F.3d

  1233,       1240       (11th        Cir.       2007)      (quoting          Restatement            (Second)           of

  Conflicts of Laws § 145(2)) .                          In cases involving fraud,                       "the place

  of    injury          does    not    play       so     important        a    role        for     choice-of-law

  purposes.              Restatement             (Second)    Conflict          of    Laws    §     145,    cmt.        f.

          Here,         What    Hurts        is alleging          that    it would not               have        signed

  the        Release           had      it        known      about            Volvo         Penta's             alleged

  misrepresentations and omissions.                               These        claims       arise        out    of     the


  parties'         contractual               relationship,             which,        by      its     terms             was




  centered in Virginia,                     given that the Release was entered into in

  Virginia and included a Virginia choice of law provision.                                                     ECF    No.



  35-2,       at   1;    see    also Merriman v.                 Convergent Bus.             Sys.,        Inc.,        No.

  90-30138-LAC,             1993       WL    989418,        at    *9     (N.D.       Fla.     June        23,     1993)

  (applying Florida's substantial relationship test and concluding

  that       the   location           where       the    contract        was     centered          had     the        most


  substantial relationship to Plaintiff's fraud claims).                                                 What     Hurts



  is    an    Ohio       LLC,    but        Volvo       Penta's     members          are     unknown,           so     the

  location of the parties does not point more strongly to a location

  other       than Virginia.                 ECF No.        35    tH   1-2.         Ultimately,            with        the

  parties'         agreement,           the      Court      finds      that Virginia has                   the        most


                                                            16
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  substantial              relationship                      to What        Hurts's              fraud    claims,         and       the



  Court will apply Virginia substantive law to such claims.
                                                                                                                         12




        C.     Counts       I        and    II:        Actual      Fraud and               Fraudulent          Concealment


             With jurisdiction and choice of law settled,                                                  the Court turns

  to     the    merits           of        Volvo Penta's              summary judgment                    motion.             As    the



  Virginia        Supreme                 Court         has    observed,             a       charge       of    fraud         is    one

  easily made                    .    .     [but]        [fjraud cannot be presumed.                                Redwood          v.


  Rogers,        105       Va.            155,        158,    53    S.E.        6,     7     (1906) .       Under Virginia

  law,        regardless                  of      the        theory        of        fraud,         the    plaintiff               must

  ultimately           "prove by clear and convincing evidence:                                                    (1)    a    false


  representation,                     (2)       of a material fact,                        (3) made intentionally and

  knowingly,           (4)           with        intent       to mislead,                  (5)    reliance by the party

  misled, and              (6)       resulting damage to the party misled.                                          State          Farm



  Mut.       Auto.     Ins.           Co.        V.    Remley,        270    Va.           209,    218,    618     S.E.2d 316,

  321        (2005)        (quoting Prospect                       Dev.     Co.        v.        Bershader,      258      Va.       75,

  85,    515 S.E. 2d 291,                       297     (1999));       see also Van Deusen v.                       Snead,          24 7

  Va.     324,        327-29,              441        S.E.2d       207,     209-10               (1994)    (discussing              the

  same elements with respect to fraudulent concealment).




  12
       If the Court later determines that it has original diversity jurisdiction
  over    What  Hurts's  fraud claims,   this  choice of  law analysis will be
  unchanged,          as    a        federal          court    sitting      in diversity                likewise     applies        the
  choice-of-law rules                      of    the    forum      state.        See       ErieCo. v.
                                                                                                   R.            Tompkins,          304
  U.S.    64, 78 (1938); see also                            Klaxon   Co.       v.   Stentor Electric            Mfg. Co.,          313
  U.S.    487, 496 (1941).

                                                                      17
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                                       1.    Count           I:     Actual            Fraud


           In Count I,           What Hurts alleges that Volvo Penta made multiple

  fraudulent            representations                      in    an    effort             to    induce      the    swap    of
                                                        \\




  product with no cash.                        ECF No.             61,    at      23.        Though What Hurts did

  not     clearly        identify           the      fraudulent                statements             at     issue    in    its

  briefing,            at the summary judgment hearing,                                      What Hurts identified

  three alleged misstatements as the basis of its actual fraud claim.

  These       include:         (1)   Kelleher's statement that he would                                          arrange for

  an    application review to ensure the                                      [Upgraded Lower Units]                   would

  work on         [the       Vessel] [; ]         (2)         Kelleher's               oral       confirmation        on    two


  separate         occasions            that         the          application^^                  would     work     with    our

  particular Vessel [;]                     and      (3)      Kelleher's                   text   on March 2,         2021.^^

  See    ECF     No.     61-1 111 22,          25,       29;       ECF No.            61,    at    23.^5

           Volvo Penta argues that none of the identified statements                                                        are

  statements            of    material       fact.                But    even         if    some     of    the    statements


  are statements of material fact, Volvo Penta argues that What Hurts



  13
    Consistent with the parties' wording, the Court uses "the application" to
  refer to the use of the Replacement Engines with the Upgraded Lower Units
  on    the    Vessel.

  14
       Kelleher's March 2,             2021,      text        stated:         "I've         got    [to]    tell you we      have
  had a       lot of    success      with   the DPH drives                .   .   .    the hole       shot   is   better    fuel
  efficiency is better and maneuverability is better particularly at low
  speed.   If it was my Boat I would go with a DPH but it's yours it's your
  choice I'd advise you to reconsider.   ECF No. 54-5.


  15
    Though all of the statements at issue were made by Kelleher, neither party
  contends that any of these statements cannot be properly attributed to Volvo
  Penta.  See Jefferson Standard Life Ins. Co. v. Hendrick, 181 Va. 824, 833,
  27 S.E.2d 198, 201 (1943)   (statements made by an individual as agent and
  representative  of  his  employer were    actionable  against  the  agent's
  employer).

                                                                   18
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  has    identified              no    evidence                  capable                  of      demonstrating                that       Volvo

  Penta     knowingly                 and         intentionally                           made         a     false       statement              of

  material          fact.        The Court considers each argument in turn.

                                      a.         Statement            of        Material               Fact


          Under Virginia law,                             fraud claims                          must relate to a present or
                                                                                           \\




  a pre-existing                 fact.                McMillion                      V.    Dryvit           Sys.,        Inc.,       262       Va.
                                            //




  463,     471,        552           S.E.2d               364,        368                 (2001)           (citations            omitted).


  Accordingly,              an        action                  based     on                fraud         ordinarily             cannot           be

  predicated on statements about future events, or the expression of

  an    opinion.            Sales          V.     Kecoughtan                    Housing                Co.,      279     Va.     475,      481,

  690 S.E.2d          91,    94        (2010).                 Expressions of opinion "however strong

  and positive              the       language may be                                 are not              statements          of    present
                                                                           tr




  fact.        Montarino v.                 Consultant                 Eng'g                    Servs.,       Inc.,       251       Va.    289,

  293,    467       S.E.2d           778,        781          (1996)            (quoting               Saxby v.          Southern Land

  Co.,    109       Va.     196,           198,           63    S.E.            423,            424        (1909)).            This       is    so


  because,          simply           put.             a        [person]               is         not       justified           in    placing
                                                  w




  reliance on              [such statements].                              Id.



          Relatedly,                 a mere promise to perform an act in the future is
                                 w




  not,    in a legal sense,                        a representation,                               and a failure to perform

  it    does    not        change          its        character.                           Patrick          v.     Summers,          235       Va.
                                                                                //




  452,    454,        369    S.E.2d               162,          164     (1988).                        Were        the    general          rule

  otherwise,          every breach of contract could be made the basis of                                                                       an

  action       in   tort     for       fraud.                  Blair Const.,                       Inc,       v.   Weatherford,                253
                                                          H




  Va.    343,       347,    485 S.E.2d 137,                        139               (1997)        (quoting Lloyd v.                  Smith,

                                                                       19
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  150 Va.          132,       145,       142     S.E.       363,       365        (1928)).           But    if    a     defendant


  makes        a     promise             that,     when           made,           they       have      no        intention        of

  performing,                then that promise is considered a misrepresentation of

  present          fact.            Supervalu,          Inc,          v.     Johnson,        276 Va.         356,       368,     666

  S.E.2d 335,                368     (2008) .

               There         is     no     bright           line       test        to    ascertain           whether         false

  representations                    constitute             matters           of        opinion       or     statements           of

  fact.            Montarino,              251    Va.       at        293,    467       S.E.2d        at    781.         Instead,
          //




  courts determine whether a representation is a statement of                                                                  fact

  on a case-by-case basis.                              taking into consideration the nature of

  the representation and the meaning of the language used as applied

  to   the         subject           matter        and           as        interpreted           by        the    surrounding

  circumstances.                         Sales,        279        Va.        at    481,        690     S.E.2d           at   94-95
                               //




  (quoting           Packard Norfolk,                   Inc,           v.    Miller,           198    Va.        557,     562,    95

  S.E.2d 207,                211     (1956)) .

          Measured                  against       this           framework,               the        Court        finds        that


  Kelleher's             statement             that         he     would          arrange        for        an    application

  review to ensure that the Upgraded Lower Units would work on the

  Vessel        is      not         an   actionable              statement              of   material             fact.        This


  statement             is    a statement              of    future performance.                       and accordingly.

  it is not actionable as fraud unless What Hurts identifies evidence

  in   the         record           capable       of    demonstrating                    that    Kelleher made                 this

  statement with no intention of                                      following through.                    See       Supervalu,

  276 Va.          at    368,        666   S.E.2d at             342.         But       What    Hurts       has       identified


                                                                      20
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  no    such     evidence            (nor    made        any    such           allegation) .              See    Colonial


  Ford Truck Sales,                  Inc,    v.    Schneider,              228       Va.    671,       677,   325   S.E.2d

  91,     94     (1985) .            In     fact,        the    record            is       devoid        of     direct       or

  circumstantial evidence suggesting that Kelleher did not intend to

  follow through on this promise at the time when it was allegedly

  made.        See Richmond Metro.                  Auth.       v.       McDevitt           St.    Bovis,       Inc.,      256


  Va.    553,        559-60,       507 S.E.2d 344,                  348        (1998);      see also Enomoto v.

  Space Adventures Ltd. ,                    624 F. Supp. 2d 443, 454-55                               (E.D. Va. 2009) .

  Accordingly, the Court finds that this statement is not actionable

  as    fraud.


          Similarly,            the portion of Kelleher's text on March 2,                                            2021,

  which        said        [i] f     it     was    my    Boat        I    would go            with       a DPH,
                       W
                                                                                                                        IS    a




  statement of opinion which cannot be actionable as fraud.                                                         ECF    No.



  54-5;        see    also      Saxby,       109    Va.    at       198,        63     S.E.       at    424   ("The       mere


  expression of an opinion, however strong and positive the language

  may be,        is no fraud.").                   What Hurts does not appear to offer any

  specific argument that this portion of Kelleher's text is a fact

  rather than an opinion,                         and the Court finds that this portion of

  Kelleher's           text     is    not    actionable             as     fraud.


                           b.   Knowing and Intentional Misstatement

          Having           concluded              that    some            of     What         Hurts's         identified

  statements           are      not       actionable           statements              of     material          fact,      the


  Court        considers whether What                     Hurts          has     sufficiently alleged that

  the remaining statements - portions of Kelleher's text on March 2,

                                                               21
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  2021,    and    Kelleher's           confirmation              (twice)        that    the       application

  would work on the Vessel - were knowingly and intentionally made.

  What     Hurts     contends            that        Volvo        Penta         made        these     alleged

  misstatements of            fact knowing and intending for                           them to be false

  because    Volvo      Penta         did not want to pay cash to                       [What Hurts]            and
                                  W




  desired a product             swap.             ECF No.       61-1 H 13;        see ECF No.             61,    at

  24 .    Additionally,          What Hurts alleges that Volvo Penta was under

  significant        financial          pressure           to    settle,         given        What    Hurts's

  proffer that it would be entitled to over $600,000 in money damages

  related to the issues with the Original Engines.                                     These assertions,


  combined       with     the         fact
                                             //
                                                   that     Volvo     Penta       made         known       false


  statements.           are     sufficient,            according           to    What       Hurts,        for     a

  reasonable       fact    finder       to        infer that Volvo Penta made                     knowing and

  intentional       false       statements. 16            See    ECF No.        61,    at   24.


          Volvo Penta,          by contrast,              asserts that even after extensive

  discovery. What Hurts has failed to introduce sufficient proof to

  allow a reasonable fact finder to reasonably conclude by clear and

  convincing evidence                 that Volvo Penta made any statement knowing

  and intending for it to be false.                             The Court agrees.

          Starting with          Kelleher's            text      on March         2,    2021,       the    Court

  finds    that    Volvo      Penta     has        carried      its   burden      to    demonstrate         that


  no reasonable jury could find that Kelleher's text contains knowing


     Though a little unclear. What Hurts appears to argue that because Volvo
  16


  Penta allegedly made false statements, it is inferable without additional
  proof that it did so knowingly and intentionally.
                                                          22
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  and       intentional             false     statements.              As    a      reminder,             Kelleher           told

  Grammas           that      Volvo       Penta    had a lot         of     success with                  the    DPH    drives


       .    .    DPH    is    the    standard because               the     hole        shot        is better[,]             fuel


  efficiency is better [,]                        and maneuverability is better.                                       ECF    No.


  54-5 .          In support of its motion for summary judgment, Volvo Penta

  introduced                 an     affidavit        indicating             that             this        information           is

  correct.              More        specifically,            the    affidavit                specified that              Volvo

  Penta          had used           the    same    model       of    Seven         Marine           engines       with        the

  same model of DPH upgraded lower units
                                                                              \\
                                                                                   on    numerous              occasions       on




  a variety              of       other vessels           with      great          success.                ECF    No.        54-1
                                                                                                     n




  H 23;          see ECF No.          54,    at 21.

                What    Hurts        introduced no            evidence             to    dispute          these        factual

  assertions.                     Instead,       What     Hurts      relies             on    Grammas's           affidavit

  that,           in    the       context    of     his      prior     conversations                     with Kelleher,

  Grammas              interpreted          Kelleher's          text      on March              2,       2021,    to     refer

  specifically                to his        model       of    Midnight        Express vessel.                       ECF       No.



  61-1 tt 29-30.                   Though Grammas understood Kelleher's text to refer

  specifically to the Vessel,                            that understanding does not transform

  Kelleher's               text     into    an    actionable         fraudulent               statement.               Indeed,

  What          Hurts      has     introduced no             credible       evidence            that       Kelleher made


  the statement knowing and intending for it to be false.                                                          See       Cohn


  V.       Knowledge Connections,                   Inc.,       266 Va.          362,        368,        585    S.E.2d       578,


  582           (2003) .          Accordingly,          What       Hurts     has         failed          to     demonstrate




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  that    Kelleher's           text          on    March       2,    2021,            satisfies          the    requisite

  elements       for    actual         fraud.


          As     to     Kelleher's                repeated           verbal           confirmation               that       the

  application would work on the Vessel,                                         the     Court          finds    that       What


  Hurts    has        failed      to     identify             sufficient              facts       for     a    reasonable

  fact    finder       to    conclude             that   Kelleher had                 fraudulent          knowledge or

  intent.       What Hurts's brief does not advance any specific arguments

  concerning Kelleher's knowledge or intent                                            with respect              to     these

  statements,           so     the       Court           considers              What        Hurts's           generalized

  arguments concerning knowledge and intent to address whether these

  background facts could create an inference sufficient to support

  What    Hurts's        theory.              These        include:             (1)    Volvo           Penta    was     under


  financial        pressure             to        settle      potential               claims           related        to    the

  Original Engines;               (2)    Volvo Penta wanted to provide a product swap

  rather       than     a     cash       payment;             and         (3)     Volvo       Penta            made     false

  statements,          which      indicates              that       Kelleher's              statements          were       made


  intentionally and knowingly.                             See      ECF No.           61,    at    24.


          First,       What    Hurts has                introduced no evidence beyond its                                   own

  conclusory           assertions                 that     Volvo          Penta         was        under         financial

  pressure       to     settle         any        claims       related           to     the   Original           Engines.

  ECF    No.    61,     at    24;       see       Noell       Crane        Sys.        GmbH       v.     Noell    Crane &

  Serv.,       Inc.,    677 F.       Supp,         2d 852,          872    (E.D. Va.          2009)        ("Conclusory

  statements          are    insufficient                to     establish              the    elements          necessary


  for    fraud.")            In     fact,          as    Volvo Penta points                    out,       the    original

                                                              24
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  limited warranty restricted Volvo Penta's obligation to repair or

  replacement           of    the    Original            Engines       in        the    event     of    a product

  defect.          Though        this       fact     appears           to      contradict         What        Hurts's

  general allegation of financial pressure. What Hurts does not make

  any     effort         to     undercut           the    effect            of     this       original         remedy

  limitation.            See EOF No.          35-1,       at    1,   4;     EOF No.        62,    at    7.


          Second,        while       there         appears        to      be      some     support           for    What

  Hurts's assertion                 that Volvo Penta preferred a product swap,                                       one




  cannot      reasonably            infer    from a mere               preference          that Volvo              Penta

  knowingly and intentionally made                              false statements                 to induce What

  Hurts     to     sign       the    Release.             Indeed,           as    referenced           before,        it

  otherwise        appears          that     the    original           limited          warranty restricted

  What Hurts to repair or replacement of the engines.                                                 See    also    ECF


  No.   62,   at    7.        Finally,       allegations of                 false       statements,           without

  more,    are     insufficient proof                    of     knowledge          or    fraudulent           intent.

  See Cyberlock Consulting,                   Inc, v.          Info.      Experts,        Inc.,       876 F.       Supp.

  2d 672,     681       (E.D.    Va.    2012) .


          At the hearing on this motion, What Hurts encouraged the Court

  to    consider        the     absence       of     proof       that        application              reviews       were


  conducted        as     clear        and    convincing             evidence            that     Kelleher          made

  knowing and intentional misstatements regarding the application of

  the   Replacement             Engines      and Upgraded Lower Units                            on    the    Vessel.

  However,       given the           clear and convincing evidentiary standard for

  finding        each         element        of      actual          fraud,            even      considered           in


                                                           25
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  combination with What                    Hurts's        other       factual       assertions          regarding

  knowledge       and      intent,               the     Court        concludes         that       one     cannot


  reasonably infer fraudulent knowledge or intent from the ultimate

  failure to conduct application reviews.

          Accordingly, because What Hurts has not identified admissible

  evidence capable of meeting the                           clear and convincing" evidentiary

  standard of proof                 required to support                  its allegation that Volvo

  Penta    made      knowing         and         intentional          misstatements.             there      is    no


  genuine       dispute        of    material           fact     as     to    whether       What        Hurts    has

  sufficiently alleged its actual fraud claim.                                      Volvo    Penta's motion


  for summary judgment on this claim is therefore GRANTED.

                          2,    Count        II:       Fraudulent       Concealment


          In Count II, What Hurts alleges that Volvo Penta fraudulently

  concealed       two     facts:           (1)     that    the     Seven      Marine        brand        would    be

  discontinued;           and        (2)         that     Volvo       Penta     had        not     tested        the


  application        of    the       Replacement            Engines          with    the    Upgraded        Lower

  Units    on the Vessel             or any Midnight Express vessel.                             ECF No.         61,

  at    26-27.



          Under Virginia law,                     [c]oncealment of a material                      fact by one

  who knows that the other party is acting upon the assumption that

  the    fact    does     not       exist        constitutes          actionable        fraud.     //
                                                                                                          Bank    of


  Montreal v.      Signet Bank,              193 F.3d 818,             827    {4th Cir.      1999)       (quoting

  Allen Realty Corp.                v.     Holbert,       227     Va.    441,    450,      318   S.E.2d 592,

  597     {1984)).        However,           silence        does        not   constitute           concealment

                                                           26
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  unless there is a duty to disclose,                                             Id.    at       829.    A duty to disclose

  ordinarily does not arise when the parties are engaged in an arms

  length transaction.                        But a duty may arise:

          (1)      if the fact is material and the one concealing has
          superior knowledge and knows the other is acting upon
          the assumption that the fact does not exist; or (2) if
          one party takes actions which divert the other party
          from making prudent investigations {e.g., by making a
          partial disclosure) ....     Obviously, the concealment
          itself               cannot        constitute                     one     of        these       diversionary
          actions — then there would always be a duty to disclose.

  Id.    (citations               omitted).               A duty              to disclose may also arise                                if



  there       is      a        confidential              or     fiduciary                 relationship                between          the

  parties,            or         if     disclosure                      would           be        necessary              to     clarify

  information                   already            disclosed,                     which            would        otherwise               be


  misleading.                    Doe    ex        rel.    Doe           v.        Baker,          299    Va.        628,      656,     857
                          //




  S.E.2d        573,            590     (2021)           (citations                 omitted).                  If     a       plaintiff

  successfully shows that the defendant had a duty to disclose,                                                                       then

  the plaintiff still must show                                        actual intent to conceal a fact [;]
                                                                   u                                                                     //




  reckless         non-disclosure                   is    insufficient.                           White    V.       Potocksa,          589


  F.    Supp.      2d 631,            642        (E.D.    Va.          2008).

                                            a.    Closure              of    Seven Marine


          What        Hurts           contends           that          Volvo        Penta          engaged          in     fraudulent

  concealment                  when    it    failed           to       disclose              to    What    Hurts           that      Seven


  Marine,          the          brand       name         on        the        Replacement                 Engines,             Original

  Engines,         and Original Lower Units, would be discontinued.                                                             EOF    No.



  61,    at     26.            What Hurts claims                       that       it never would have agreed to



                                                                        27
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  settle for Replacement Engines had it known that the brand would

  be    discontinued.               Id.       at    27.


          Volvo    Penta            argues           that       it    had     no       duty       to     disclose         this

  information because                        there    is    no       evidence          that    it       knew       that   What


  Hurts was acting upon the assumption that the Seven Marine brand

  would    continue.            ECF No.             62,    at    8.     Moreover,             Volvo Penta argues.

  there    is     no   evidence                to    suggest           that       it    deliberately                withheld

  information or took steps to prevent What Hurts from asking about

  or discovering the relevant information.                                             ECF No.          54,   at    22-23.


          Considering the duty to disclose                                    issue       first,          even      assuming


  that    the   status         of        Seven       Marine's          future          was    a         material      fact,
                                                                                                    u                         n




  what    Hurts    has        not    introduced             evidence          on which a                reasonable        fact


  finder could rely to find that Volvo Penta had a duty to disclose

  this    information.                   Indeed,          What    Hurts       has       introduced no evidence

  to suggest that Volvo Penta knew that What Hurts was                                                        acting under

  the    assumption            that           Seven       Marine        would          continue          to    exist.      and
                         //




  thus Volvo Penta has                       carried its burden and is entitled to                                   summary


  judgment on this issue.

          But     even         if        Volvo        Penta           had     a    duty        to        disclose         this

  information.         summary judgment would still be proper because What

  Hurts has not identified any evidence beyond mere speculation that

  Volvo    Penta       made              a    knowing        and       a    deliberate              decision         not     to
                                    \\




  disclose"       this        information.                 See Norris             v.    Mitchell,             255 Va.     235,

  240,    495 S.E.2d 809,                    812    (1998).           Nor are there any allegations in

                                                                 28
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  the Amended              Complaint       or the          parties'       summary           judgment           briefing

  that Volvo Penta                took     steps       to    conceal         the      closure          of    the     Seven

  Marine brand.              See NorthStar Aviation,                     LLC v. Alberto,               332 F.        Supp.

  3d 1007,       1019       (E.D. Va.      2018) .          In fact,      the closure had previously

  been publicly announced several months prior.                                            See    ECF        54-3,    at   2


  {announcing the "phasing out                         of production of Seven Marine engines
                                                  u




  and        cessation         of     sales           and        marketing            in        November           2020).


  Accordingly,             Volvo     Penta    has          carried        its      burden         to    demonstrate

  that it is entitled to summary judgment on Count II as it relates

  to    the    closure       of   Seven Marine.


                      b.    Failure to Test Replacement Engines with
                                     Upgraded Lower Units

             What Hurts next          contends         that Volvo Penta failed to disclose:


  (1)    that     it had never tested                      the    application              of    the Replacement

  Engines with the Upgraded Lower Units on the Vessel or any other

  Midnight        Express         vessel;     and          (2)    that       Plaintiff           would        be     stuck


  with the original                 configuration that already plagued the Vessel
                                                                                                                           //




  if the Replacement Engines and Upgraded Lower Units did not work

  well together.              ECF No.       61,       at    2 6.^'^

             By way of response,             Volvo Penta again argues that it had no

  duty to disclose                this     information.                ECF      No.    62,       at     9.      For     the


  same reasons discussed at length above with respect to the closure


  n
       The    Court   observes      that   these       factual        assertions       are      the    full    extent      of
  What Hurts's argument that    it  satisfies  the elements   for fraudulent
  concealment as to this category of information.  See ECF No. 61, at 25-26.


                                                             29
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  of     Seven        Marine,        Volvo    Penta        has        demonstrated             that        there         is

  insufficient record evidence for What Hurts to establish that Volvo


                                                           acting upon the assumption                                  that
                                                                                                                 tt
  Penta        knew    that    What    Hurts       was


  the engine application had been tested on the Vessel,                                               or that it

  would         have         alternative               options         if         the     application                   was




  unsuccessful.                 See    Bank       of    Montreal,           193    F.3d       at    827.         Nor     is


  there any evidence in the record beyond mere speculation that Volvo

                        a knowing and a deliberate decision not to disclose
                                                                                                                          tf
  Penta        made


  this        information.           See Norris,          255 Va.       at    240,       495       S.E.2d at           812.


             Without any evidence to support What Hurts's contention that

  Volvo        Penta had a duty              to    disclose           this        information.             let        alone


  that        Volvo     Penta         made    a        knowing        decision           to        withhold            this

  information,           the    Court       concludes       that Volvo Penta has                      carried its


  burden        and    is     entitled       to    summary judgment                 as    a matter           of        law.

  The Court therefore GRANTS Volvo Penta's summary judgment motion

  as    to     Count    II.


                        D.     Count III:         Breach of          Express Warranty


              In Count        III,    What    Hurts       alleges       that        Volvo          Penta breached

  several of the written express warranties contained in the Limited

  Warranty.            ECF     No.    61,    at    27-28.            Under        the    challenged written

  warranties, Volvo Penta promised:                            (1)    that the Replacement Engines

  and Upgraded Lower Units would be
                                                                 W
                                                                     free    from       defects       in    material




  18
       Nor,    for that matter,        has What Hurts demonstrated that alternative options
  within       the Volvo      Penta   line   did not      exist.

                                                          30
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  and     workmanship               for     the        period            of     time        stated          herein;"        and

  (2)    that     it    would          repair[]            a defective part                    [or]     replac[e]          such

  part or parts.                   ECF No.        35-1,          at 1;        see ECF No.            35 HH 60-68.               In



  addition        to        these       written            promises,             What         Hurts         alleges        that

  Kelleher        made        several        oral          representations                    that      became       express

  warranties           as    a   matter         of    law.         ECF No.            61,     at    27;     see     also    ECF


  No.    61-1 M 25,              29.

          Volvo Penta argues that it is entitled to summary judgment                                                            on

  Count     III    for      three      reasons:            (1)    What Hurts's claim does not                             arise


  under     the    Limited             Warranty            because            Volvo     Penta         had    no     warranty

  obligations               related        to        the     compatibility                    of      the     Replacement

  Engines and Upgraded Lower Units;
                                                                  . 19
                                                                          (2)   What Hurts did not provide

  adequate notice                  or an opportunity                     to     cure    any alleged breach of

  warranty; and (3) What Hurts is barred from recovering any damages.

           Under       Virginia           law,       a     plaintiff             seeking           to     recover         for     a

  breach of warranty must ultimately prove:                                             (1)    the      existence          of     a


  warranty;        and       (2)    a breach of that warranty.                                Hitatchi         Credit       Am.


  Corp.     V.    Signet           Bank,     166       F.3d       614,        624      (4th Cir.            1999)    (citing

  Collier v.         Rice,         233 Va.        522,      524-25,           356 S.E.2d 845,                847    (1987)).




                                                                                        Limited Warranty did                    not
  19
        Initially,      Volvo       Penta       also       argued        that    the
  become    effective         until       after      the    successful          sea    trial       in November       of    2021.
  ECF No. 62, at 11.   However, at the summary judgment hearing, Volvo Penta
  conceded, at least for the purpose of summary judgment, that the Limited
  Warranty began to run on April 8, 2021.  See ECF No. 61-2 (highlighting the
  provision in the Limited Warranty stating that it would begin to run no
  later than April 8, 2021).

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  Here, assessing the existence of a warranty begins with an analysis

  of    the    Release.


          Because          the    Release       predominantly concerns                the    transfer      of

  title       over    certain engines             from Volvo Penta to What Hurts                     for    a

  price       of     $10,000,       the    parties       agree     that     this       transaction         is

  governed by the Virginia Uniform Commercial Code                                   ( "UCC") .    See   Va.


  Code §§      8.2-105,          106.     Under the Virginia UCC,               an express warranty

  may be       created by            [a] ny affirmation of           fact       or promise made            by

  the    seller       to    the     buyer which         relates    to     the       goods    and   becomes

  part of the basis of the bargain.                          Va.     Code       §   8.2-313(1).          This


  broad language is subject to the limitations set forth in Virginia

  Code § 8.2-202,               governing the admissibility of parol evidence.

          In       light of       the    parties'       dispute    over whether certain oral

  statements allegedly made by Kelleher created an express warranty,

  the    Court       will        first    address       whether     the     parol       evidence         rule

  prohibits What Hurts from introducing evidence of oral warranties.

  In    doing        so,     the     Court       will    determine        whether           What   Hurts's


  complaints conceivably fall within the scope of what Volvo Penta

  warranted.           Then,       the   Court will consider Volvo Penta's arguments

  regarding proper notice and damages.

                           1.    Volvo Penta's Warranty Obligations

                                           a.    Parol    Evidence


          Section 8.2-202 of the Virginia Code provides that a document

  intended by the parties as a final expression of their agreement

                                                        32
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  may     not    be     contradicted          by           evidence           of     any       prior        agreement.

  Va.     Code    §    8.2-202.            Though           contradiction                 of   a     final        written

  agreement       is prohibited,             the           parties        can       introduce          evidence           of
  \\
       consistent      additional          terms
                                                       u
                                                             unless       the       Court           finds    that        the


  parties        also     intended          for            the     document          to        be     the     complete

  expression of their agreement.                             Id.    §    8.2-202(b).                 Stated simply,

  an     agreement      can    be      final"              without       being           "complete.          and       both



  findings have           legal significance                      for determining whether and to

  what     extent      evidence       of   additional               terms          can    be   introduced.               For



  example, when an agreement is "final" and "complete" neither party

  can     introduce       parol       evidence              of    additional              terms.        But       if     the


  agreement is "final" but not "complete" because some terms remain

  unwritten.          then either party can introduce evidence of additional

  consistent          terms.         See   id.     §       8.2-202.


           Turning first to finality,                            a "final"          agreement          is one which

  is intended to be                legally binding.                     See    David Frisch,                Lawrence's

  Anderson       on    the   Uniform        Commercial              Code      §     2-202.37          (3d ed.          2022)

  (hereinafter           Anderson on the Uniform Commercial Code").                                               In    this


  case,     the parties appear to agree that the Release is the legally

  binding agreement between the parties.                                      See    ECF No.          61,    at    19-20,




        The exception to            that, if the Court finds that the alleged
                               this rule     is
  additional      terms      are     had they been agreed upon, the parties
                                    such   that,
  certainly would have included them in writing, then the Court may not
  consider proffered evidence of additional consistent terms. Va. Code § 8.2-
  202 cmt.  3.  As neither party has invoked this exception, the Court does
  not address its potential applicability.


                                                             33
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  ^ 83;      ECF No.     54,    at 14.21              Moreover,              neither party has introduced

  evidence upon which a reasonable fact finder could conclude that

  the    Release was           not    intended              as        the    final      agreement            between      the

  parties.       The Court thus concludes                               that the Release                is final,         and


  neither party may introduce parol evidence which contradicts its

  terms.



          Though       the     Release               is   final.             that      does      not        mean     it    is


  necessarily complete.                   See Va. Code § 8.2-202 cmt. 1(a)                                   (explaining

  that the UCC rejects any assumption that because a writing is final

  it    is    necessarily            complete).                  Virginia           law    does        not    provide       a

  clear test for determining whether a contract governed by the UCC

  is    considered        "complete.                      In          some     cases,     the        presence        of    an
                                                //




  effective merger clause stating that the contract is the complete

  agreement between the parties appears to be near-conclusive proof

  that       an agreement        is       "complete.
                                                                 //
                                                                         See    Hoffman         v.    Daimler       Trucks


  North       America,       LLC,      940           F.   Supp.          2d     347,      355        (W.D.    Va.    2013)

  (finding that parol evidence of oral warranties was not admissible

  because       there     was        an    effectively                   worded        merger         clause        in    the


  parties'       agreement);              see        also      King          Industries,             Inc,    v.    Worldco

  Data Systems,          Inc.,       736 F.           Supp.           114,   118    (E.D. Va.          1989)       ("[0]ral

  statements       [that        constituted                 an         express      warranty]           would       not    be




  21
     what Hurts notes that the Release may not be binding in the event of
  fraud, but the Court grants Volvo Penta's summary judgment motion with
  respect to What Hurts's fraud claims, and What Hurts has advanced no other
  argument that the Release is not legally enforceable.

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  admissible           to      contradict            or    vary     the     disclaimer        of        express


  warranties          clause.");           Hill v.        BASF Wyandotte       Corp.,     696      F.2d 287,

  291     {4th   Cir.         1982).         But    even with a merger              clause,     courts         are

  encouraged           to      consider        the        totality     of     the    circumstances              to

  ascertain the parties'                     intent.        See,    e.g.,    Betaco,     Inc,      v.    Cessna

  Aircraft       Co.,         32    F.3d     1126,    1132-33       (7th Cir.        1994)    (explaining

  that the focus of the inquiry is on the intent of the parties and

  that        courts        should         consider        the     writing      itself,       merger           and

  integration clauses.                     disclaimer       clauses,        the nature       and scope of

  prior        negotiations.                 any     alleged        extrinsic        terms,         and        the

  sophistication of the parties);                          Anderson on the Uniform Commercial


  Code    §    2-202.39            (same).

          Here,        the         parties     have       agreed     that    the     Release       does        not

  contain a merger clause, and both have taken conflicting positions

  regarding the completeness of the Release without supporting their

  assertions by reference to                         evidence       in the     record.        Put       simply.

  the Court cannot determine as                           a matter of        law at    this phase          that

  the     Release        reflects            the     complete       and     exclusive       understanding

  between        the     parties.             Because       Volvo    Penta     has    not     carried          its


  burden to demonstrate that the Release is complete,                                    the Court will

  consider           (for now)           What Hurts's evidence of oral warranties.
                                                                                                          22




  22
       At the summary judgment hearing,             Volvo Penta argued that the Court must
  first       find     that        the    Release    is
                                                     ambiguous   before  considering parol
  evidence.          However,       the Court has found no support in Virginia law for the
  proposition that a party must first show that a final contract governed by
  the UCC is ambiguous before introducing evidence of consistent additional
                                                           35
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                           b.    Creation of Additional                  Express Warranties

                At     the       summary      judgment         hearing,        What       Hurts     argued   that

  certain             statements            made    by    Kelleher            (1)     that    the    Replacement

  Engines and Upgraded Lower Units would work together on the Vessel;

  and       (2)       that Kelleher would arrange for an application review to

  ensure the Upgraded Lower Units would work on the Vessel - became

  express warranties as a matter of Virginia law.                                             ECF    No.   61,   at


  23-24,             27.        Under Virginia            Code      §   8.2-313,      a   seller     creates     an



  express warranty "that the goods shall conform to the affirmation

  or       promise              when   it    makes        [a] ny affirmation of               fact or promise

       .    .    to the buyer which relates to the goods and becomes part of

  the basis of the bargain.                              Va.   Code     §   8.2-313 (1) (a) .        Ultimately,
                                                    n




   [t]he issue whether a particular affirmation of fact made by the

  seller constitutes an express warranty is generally a question of

  fact.               Bayliner Marine Corp. v.                   Crow,      257 Va.    121,   127,    509 S.E.2d

  499,          502    (1999) .

                In its motion for                  summary judgment,            Volvo Penta argues that

  it is entitled to summary judgment on Claim III because its primary




  terras. Indeed, Virginia courts applying the coraraon law parol evidence rule
  have not required a showing of arabiguity before considering evidence of
  additional consistent terras, and the Virginia UCC liberalized the coraraon
  law parol evidence rule that already permitted this evidence.         See Jim

  Carpenter  Co v.  Potts, 255 Va. 147, 155-56, 495 S.E.2d 828, 833 (1998)
  (discussing the partial integration doctrine);      see also 1 Sinclair on
  Virginia Remedies § 36-8 (2022)    (explaining that Virginia Code § 8.2-202
  "reflects a liberal approach to the introduction of parol evidence to explain
  or supplement written contracts for the sale of goods than was formerly
  followed in Virginia").

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  obligation under the Limited Warranty was to provide non-defective

  parts,       and What Hurts has not offered sufficient proof that either

  the     Replacement              Engines           or    the    Upgraded       Lower           Units     were

  defective. ^3            ECF No.       54,    at    26-27.      Instead,      Volvo Penta argues.

  What     Hurts      has        introduced       evidence        that   the   Replacement           Engines

  and Upgraded Lower Units did not synchronize correctly, which does

  not relate to any written provision of the Limited Warranty.                                              Id.


          However, What Hurts has offered evidence that Volvo Penta may

  have     created         an     oral    warranty         that   the    Replacement             Engines    and

  Upgraded Lower Units would work together on the Vessel.                                                Thus,

  to the extent that What Hurts can demonstrate the existence of an


  affirmative             oral    warranty,          the    remaining     issue        is    whether What

  Hurts has offered sufficient evidence                            (at this stage)               of breach of

  this warranty to survive summary judgment.                                   See   Hitatchi         Credit,

  166     F.3d      at    624.       The       Court      finds   that    it    has,        as    What   Hurts

  introduced             various         emails       documenting        ongoing        water       pressure


  issues       in    the     months        following        installation        of     the       Replacement




  23
       what Hurts disputes this characterization and insists that its evidence
  is indicative of a product defect as well.  See ECF No. 61, at 27-28.  Though
  it is unclear to the Court what evidence would support a finding of a product
  defect, the Court need not decide this issue to resolve Volvo Penta's motion.

     As stated previously, a seller creates an express warranty when it makes
  24


    [a] ny affirmation of fact or promise ... to the buyer which relates to
  the goods and becomes part of the basis of the bargain.     Va. Code § 8.2-
  313 (1) (a).  What Hurts's position is that, based on Virginia Code § 8.2-
  313, the alleged statements by Kelleher that the application would work on
  the Vessel created an express warranty that the Replacement Engines and
  Upgraded Lower Units would, in fact, perform together on the Vessel.    ECF

  No.    61,   at   24,    27.

                                                           37
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  Engines      and    Upgraded         Lower       Units.             See,    e.g. ,       ECF   No.      61-7


  (reporting a "low pressure alarm" on one of the engines);                                         ECF No.

  61-8    (reporting          constantly fluctuating water pressure");                              ECF No.

  61-16    (reporting ongoing water pressure alarms and that Volvo Penta

   cannot resolve the issues they are experiencing").

          Based on this showing, Volvo Penta has not carried its burden

  to demonstrate that there is no genuine issue of material fact as

  to    whether      What     Hurts's        claims        conceivably             fall    within      Volvo

  Penta's warranty obligations.                      ECF       No.    54,    at    26.     Volvo    Penta's


  motion for summary judgment on this basis is therefore DENIED.

                                       c.    Expert Testimony

          Volvo Penta separately argues that What Hurts cannot satisfy

  its    burden of       proof    to     establish breach of                      an express       warranty

  because it did not timely disclose an expert witness and the time

  to    do so has       long since passed.                  According to Volvo Penta,                     What

  Hurts's      claims    involve       the     interplay of mechanical                      engineering.

  naval    architecture          [and]      hydrodynamics,"             making expert testimony

  a prerequisite to establish,                     among other things,                   that any of the

  engines were defective.                   ECF No.       54,    at    14.    However,       Volvo Penta

  has    not   identified,        nor has          the     Court      located,       any    caselaw       that

  suggests       that     a    plaintiff           must        produce       expert        testimony        to

  establish the elements of breach of an express warranty.                                          See    id.


  at    13-14.       Moreover,     even       if    expert       testimony were             necessary       to

  prove    a     "defect.        nothing       in        the    record       suggests        that      expert

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  testimony would be necessary to prove a synchronization failure.

  What    Hurts,          for its part,          argues that the record is "replete with

  admissions              by     Volvo        Penta        that        will     establish                the     necessary
                     tt




  elements for its breach of express warranty claim.                                                     ECF No.       61,   at


  17 .



          Ultimately,             Volvo        Penta         has         not        carried          its        burden       to

  demonstrate             that    What    Hurts will              be unable              to prove          the      elements

  of its breach of express warranty claim without expert testimony.

  The Court accordingly DENIES Volvo Penta's summary judgment motion

  to     the   extent          that      it    is    predicated                on     the      absence          of     expert

  testimony.

                                                      2.    Notice


          Volvo           Penta    next        argues        that         it        is   entitled              to    summary

  judgment on Count III because What Hurts failed to provide adequate

  notice       and        an   opportunity           to     cure        the     alleged product                     defects.

  ECF    No.    54,       at   25-26.          Under Virginia                  Code      §    8.2-607,           the    buyer

  must notify the seller                      "within a reasonable time"                             of discovering

  issues with the goods.                      Va.    Code     §        8.2-607(3)(a).                But       whether       and


  when notice was provided in this case,                                   and whether Volvo Penta had

  an     adequate          opportunity          to                      any    defect,             plainly          turns     on
                                                      \\          //
                                                           cure




  disputed issues of material                          fact.            See         e.g. ,     ECF       No.     61,   at     27


  (What Hurts)             (referencing multiple emails to Volvo Penta notifying

  it     of    the        ongoing     water          pressure            issues          with       the        Replacement

  Engines       and        Upgraded       Lower       Units);            ECF No.             54,    at    25-26        (Volvo

                                                             39
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  Penta)     (reflecting the fact that                               Volvo Penta's internal warranty
                                                                \\




  files do not show any warranty claims made"}.                                              Accordingly,          Volvo

  Penta's motion for summary judgment on Count III based on lack of

  notice and an opportunity to cure is DENIED.

                                                    3,    Damages


           Finally,       Volvo            Penta    seeks            a    ruling        on    summary        judgment

  finding that What Hurts cannot recover consequential,                                                incidental.

  or      direct       damages         because           the          Limited         Warranty         included        a


  disclaimer           that     the        seller        would           not     be   responsible            for    "any

  incidental           or consequential              damages.                   ECF   No.     35-1,    at     2.     The


  Limited     Warranty          further            specified              that    the    seller's            sole    and
                                                                                                        \v




  exclusive        obligation                was     repair              or     replacement       of     defective
                                      //




  parts;     stated       differently,              no     direct              monetary damages              would    be

  available.             Id.;    see        ECF No.       54,        at   28-29.


           Under Virginia law,                a seller of goods may preemptively limit

  a buyer's financial recovery by disavowing categories of damages.

  Va.     Code     §    8.2-719 (1) (a) .                 The         Court       will       generally        enforce

  parties'       agreed remedies               limitations,                    but some        minimum adequate


  25
    In some sense, there are overlapping damages limitations at issue in this
  case.    There are the repair/replacement and consequential/incidental
  limitations in the Limited Warranty, and there are additional "limitations"
  in the Release itself, where What Hurts has agreed to be responsible for
  certain costs,   See ECF No. 35-1, at 1.  Volvo Penta appears to argue that
  even if the Court finds that certain damages clauses in the Limited Warranty
  are unenforceable, the limitations in the Release remain enforceable,     As

  neither party has argued this point at length, the Court reserves ruling on
  this issue,   However, the Court is skeptical that the same analysis that
  the Court undertakes with respect to the damages clauses in the Limited
  Warranty does not apply with equal force to the damages clauses in the
  Release    itself.

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  remedies
                //
                         must          remain         available.                      Id.      §       8.2-719            cmt.          1.


  Accordingly, any clause which limits remedies in an unconscionable

  manner       cannot        be        enforced.            Id.            And   if    circumstances                    arise      that


  cause    a         limited           remedy         to    fail           its    essential             purpose,           thereby

  undermining              the        adequacy         of    the           limited          remedy,          then       the       Court


  cannot enforce that remedy limitation either.                                                        Id.     §    8.2-719(2).


  Clauses        limiting              or     excluding           damages             are     subject              to    different

  standards depending on the type of damages they deal with.                                                                  So       the


  Court considers each category of damages in turn.

                                             a.     Consequential Damages

          Contractual                      clauses         limiting              or     excluding              consequential

  damages            are     valid
                                              \\
                                                   unless     the            limitation                or      exclusion                is


  unconscionable.
                                 n
                                            Va.       Code        §        8.2-719(3)              (emphasis             added) . ^6


  Unconscionability                          deals         primarily                  with         a     grossly           unequal

  bargaining power at the time the contract is formed.                                                                  Envirotech
                                                                                                               u




  Corp. V. Halco Eng'g,                            Inc.,    234 Va.          583,       593,       364 S.E.2d 215,                     220

  (1988);        see       Smyth-Bros.-McCleary-McClellan Co.                                          v.     Beresford,               128

  Va.    137,         170,           104    S.E.      371,        382        (1920)          (the       inequality                of    an

  unconscionable bargain is                                so gross as to shock the conscience");

  see   also         1     Kent        Sinclair,           Sinclair              on    Virginia              Remedies         §    36.8

  (2022)        (explaining                  that      the    principle                 of     unconscionability                        is


  26
    As defined by the Virginia UCC, consequential damages include (in relevant
  part) "any loss resulting from general or particular requirements and needs
  of which the seller [of a product] at the time of contracting had reason to
  know and which could not reasonably be prevented by cover or otherwise."
  Va.   Code    §    8.2-715(2)(a).

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  intended            to     prevent           "oppression               and     unfair       surprise                   to     the
                                                                                                                  //




  parties,         and that the test for unconscionability is whether                                                           the


  clauses        involved are                so one-sided"               as    to be unconscionable                          "based


  on   the       circumstances               existing             at    the    time     of    the    making of                  the

  contract").                    Ordinarily,               the        Court    must     determine                 whether         a

  contractual               provision               is      unconscionable               by     considering                     the

  particular facts and circumstances surrounding a transaction.                                                                 See


  Carlson        v.     Gen.      Motors Corp.,                  883 F.2d 287,          293    (4th Cir.                 1989).

          Here,            even        after    discovery,               What    Hurts        has    introduced                  no


  evidence            to    suggest          that,         for        example,     it        had    no        'meaningful

  choice'          but           to      accept            the         limited     warrant[y]                     with          the
                                                                                                         n




  consequential damages disclaimer included.                                            Id.        Nor       is        the    Court


  persuaded by               What        Hurts's           bare        assertion        that       this           disclaimer

   shocks         the       consci[ence]
                                                    //
                                                          because         no    man     in    is    senses              and     not


  under      a    delusion              would agree to such a disclaimer.                                    ECF         No.    61,
                                  //




  at   31.        Because What               Hurts has            introduced no evidence                          of grossly

  unequal bargaining power when the warranty was                                               formed,                 the Court

  finds          that       the         disclaimer               of     consequential              damages               is     not


  unconscionable.                      Accordingly,               Volvo        Penta's       motion          for         summary

  judgment is GRANTED to the extent that it seeks to preclude What

  Hurts from recovering any consequential damages.

                                               b.        Incidental Damages

          In       contrast             to     consequential                  damages,        incidental                     damage

  provisions               are    not     expressly addressed                    in the        relevant Virginia

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 remedies      statute.               See Va.           Code       §    8.2-719(3).              As    a result,       the


 parties       dispute          the    proper              standard           for    determining             whether     a

 clause eliminating recovery for incidental damages is enforceable.

 Volvo Penta contends                 that What             Hurts must              show that         the    incidental


 damages disclaimer is unconscionable for the Court to find that it

 is     unenforceable.            ECF          No.    54,     at       29-30.        What    Hurts          argues    that

  it    must   show       only    that           the       Limited        Warranty          remedy,          repair     or


 replacement,         failed its essential purpose in order for What Hurts

 to recover incidental damages.                              First,       the Court will address which

  standard           unconscionability                      or     failure          of    essential          purpose

 applies.          Then,        the    Court           will        assess       whether          Volvo       Penta     has

 carried       its   burden       to demonstrate                       that    it    is    entitled          to    summary


  judgment with respect to incidental damages.

          The ordinary rule for evaluating clauses that purport to limit

  a buyer's        remedies           is       that        such clauses              are enforceable unless

   circumstances cause an exclusive or limited remedy to fail of its

  essential purpose.                  Va.       Code § 8.2-719(2) .                      But there is a special

  rule     that,     on    its    face,              only    applies           to    consequential                damages.

  The     relevant         language              of         the        Virginia           Code        provides        that

       [c]onsequential          damages              may    be     limited          or    excluded          unless     the




  27
     In a separate provision of the Virginia UCC, incidental damages are
  defined as including "expenses reasonably incurred in inspection, receipt,
  transportation and care and custody of goods rightfully rejected, any
  commercially reasonable charges, expenses or commissions in connection with
  effecting cover and any other reasonable expense incident to the delay or
  other    breach.        Va.   Code       §   8.2-715(1).

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 limitation or exclusion is unconscionable.                                  Va.     Code       §    8.2-719 (3)


  {emphasis added).                     Notably,    incidental damages are                 not expressly

 referenced           in    this         language.        Indeed,        though      the    Virginia                UCC

 separately            defines            consequential           and     incidental                damages          in

 Virginia Code § 8.2-715,                        the legislature chose to reference only

 consequential damages in Virginia Code § 8.2-719(3).                                           See      also       Va.


 Code     §    8.2-713(1)(discussing the                       availability of             incidental               and


 consequential damages")                     (emphasis added); Id. § 8.2-714(3)                               (same).

          Under       Virginia           law.      [w]hen       the     language     of     a       statute          is

 unambiguous,              [the Court]          [is] bound by its plain meaning" and "must

 give effect to the                     legislature's          intention       as    evidenced                by    the

  language       it    chose            unless    doing    so      would    result         in       a    manifest


  absurdity.           Conyers v.            Martial Arts World of Richmond,                            Inc.,       273

 Va.     96,    104,       639    S.E.2d 174,        178        (2007).     Furthermore,                 when       the


  legislature              uses    two     different       terms      within    the       same          act    it    is


 presumed to mean two different things.                                  Klarfeld v.        Salsbury,               233


 Va.     277,    284-85,          355 S.E.2d 319,          323    (1987).      As applied here,                     the

  legislature chose to create a higher barrier to invalidation,                                                       a

  finding of unconscionability, for consequential damages provisions

  alone.        See Va.      Code § 8.2-719(3);                 see also id.        cmt.    3       (explaining

  that    subsection          3         recognizes the validity of clauses limiting or
                                   \\




  excluding        consequential                 damages")        (emphasis         added).               Had       the



  legislature          intended           for    this provision to             apply to              incidental

  damages as well.                it would have so stated by the use of that term.

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 Klarfeld,         233    Va.     at    285,     355        S.E.2d        at     323.      The    language       of

 Virginia         Code     §    8.2-719(3)         is       unambiguous            as     to    consequential

 damages.         and     there    has     been        no    argument            from     Volvo    Penta       that

 applying         the     language       as    written only to                    consequential          damages

 would result in a "manifest absurdity.                                     Accordingly,          Volvo Penta
                                                                     //




  fails     to     demonstrate            that       the      unconscionability                   standard       in

                                                                                    28
  subsection        (3)    applies to incidental damages.                                 All other remedy

  limitations remain valid unless a buyer can show that the exclusive

 or     limited     remedy        failed       its      essential               purpose.         See   Va.     Code


  §    8.2-719 (2) .           Therefore,        the    Court        finds         that    What    Hurts       need


 only show that the Limited Warranty remedy failed its essential

 purpose to invalidate the incidental damages disclaimer.

           With    the         standard       determined,                 the     Court     next       addresses


 whether Volvo Penta is entitled to summary judgment on the                                                   issue

  of    incidental        damages.        A contractually agreed-to limited remedy

  fails     its    essential           purpose       when       circumstances                  arising       during



  29
     Volvo   Penta  argues   that   Virginia   courts   have  extended   the
 unconscionability requirement to incidental damage limitations as well, but
  the Court is unconvinced.              None of       the cases which Volvo Penta cites                     in its
  brief squarely address whether Virginia Code § 8.2-719(3)                                    is applicable to
  clauses    limiting          recovery for      incidental damages.    See  ECF No.  62, at
  13-14.       While           the  Court's       independent  research   reveals  divergent
  interpretations of section 2-719(3) of the Uniform Commercial Code across
  different jurisdictions, in the absence of on-point Virginia caselaw, this
  Court, applying Virginia law, is bound by the plain meaning of a statute
  when its language is unambiguous.     See Conyers v. Martial Arts World of
  Richmond, Inc., 273 Va. 96, 104, 639 S.E.2d 174, 178 (2007); see also Burris
  Chem., Inc, v. USX Corp., 10 F.3d 243, 247 (4th Cir. 1993) (explaining that
  a federal court applying state law "rule[s] upon state law as it exists and
  do[es] not surmise or suggest its expansion").   The Court thus applies the
  text of Virginia Code § 8.2-719(3) as written to apply only to consequential
  damages limitations.

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 performance of the agreement" deprive the buyer of the substantial

 value of its bargain.                  Envirotech Corp.,                234 Va.        at 593,       364 S.E,2d

 at       220;    see Va.    Code     § 8.2-719 cmt.             1.     For example,            when a seller

 limits a buyer's remedy to repair or replacement,                                            that remedy may

 fail its essential purpose when neither repair nor replacement can

   return the goods to their warranted condition.                                              Hill,      696    F.2d


 at       297;    see also J.         White        & R.     Summers,          Uniform Commercial Code

  § 13:20         {6th ed.      2023)    (explaining that a limited remedy may fail

  its      essential        purpose          when     the       seller       is     willing         and    able     to

 repair but            cannot       perform        the     repairs       .     .    .   because        the      goods

      .    .    contain a design defect").

               Volvo   Penta    contends           that    What       Hurts        cannot     prove       that     the

 Limited Warranty failed its essential purpose "because Volvo Penta

  timely supplied replacement engines,                                which was an adequate remedy

  for any purported breach of warranty.                                 ECF No.         54,    at   29.      But    at


  the          summary      judgment          hearing.          What         Hurts      argued         that        the

 Replacement             Engines        and       Upgraded        Lower        Units          could       not    work

  together on the Vessel due to the Vessel's design, and accordingly,

  no amount of repair or replacement of the engines could have made

  both         products     perform          as    warranted.                Ultimately,            whether        the

  Limited         Warranty          remedy        failed    its       essential          purpose          rests     on

  disputed issues of material fact, not the least of which includes

  resolving whether any oral warranties were created,                                               and,     if so.

  whether         repair       or    replacement           could       not,        in   fact,       restore        the

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 engines to their "warranted" condition.                                  Because Volvo Penta fails

 to      demonstrate        that   no reasonable                 fact    finder could         find in            favor

 of      What    Hurts      on    this     issue,           Volvo       Penta's      motion      for        summary

 judgment is DENIED to the extent that                                   it seeks to preclude What

 Hurts from recovering any incidental damages.

                                          c.    Direct Damages


           Finally,         Volvo Penta argues                   that    What    Hurts      cannot recover

 any      direct       damages.           However,           as     discussed        above,       a        seller's

  limitation           of     remedies         to           repair       or     replacement                may      be
                                                       \\




 unenforceable when that remedy has                               failed its essential                     purpose.


 Va.     Code § 8.2-719(2) .              For the same reasons discussed with respect

  to incidental damages,                 genuine disputes of material fact preclude

  this Court from determining at this stage that the Limited Warranty

  remedy did not fail its essential purpose.                                    If   What   Hurts          can    show


  that     the    Limited Warranty remedy                         failed      its    essential             purpose,


  then direct damages may be available.                                  Accordingly,         Volvo Penta's

 motion for summary judgment is DENIED to the extent that it seeks

  to preclude What Hurts from recovering any direct damages.

                                               IV.    CONCLUSION


           For   the     reasons     stated          above.        the    Court      GRANTS      in part           and

  DENIES in part Volvo Penta's motion for summary judgment.                                                 ECF    No.


  53 .     The   Court      GRANTS       Volvo       Penta's       motion       as   to   Counts       I    and    II.


  The Court       also      GRANTS Volvo Penta's motion as                           to   Count       III    to    the


  extent        that     it      seeks    to     preclude           What      Hurts       from        recovering

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 consequential damages.                  otherwise,      the Court DENIES Volvo           Penta's

 motion       as    to    Count   III.


         The       Clerk    is    REQUESTED   to     send    a   copy    of    this   Opinion and

 Order    to       all    Counsel   of   Record.


         IT    IS    SO    ORDERED,




                                                                          /s
                                                                  Mark    S.   Davis
                                                   CHIEF    UNITED   STATES      DISTRICT   JUDGE



 Norfolk,          Virginia
 January S               , 2024




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